USCA Case #24-5173        Document #2106412             Filed: 03/17/2025    Page 1 of 5




    MOTION OF AMICUS CURIAE FOR LEAVE TO FILE A MOTION
      FOR PRESENTATION OF AN INVITATION TO THE CADC
                   Under CADC Rule 29(b)

                  CADC Case # 24-5173 (Newman v. Moore, et al.)
 FROM
 Probir Kumar Bondyopadhyay, Ph.D.
 U.S. Citizen, Amicus Curiae
 Original Article 1 Creature of the U.S. Constitution
                                                    mJED STATES COURT OF APPEALS
 TO                                                 FOR DISTRICT OF COLUMBIA CIRCUIT
 U.S. Court of Appeals for the D.C. Circuit
 The Honorable Chief Judge                                    H»R I 7 2D!!
 333 Constitution Avenue NW
 Washington, D.C. 20001                                 RECEIVED
 DATE: March 14, 2025
                             MOTION FOR AN INVITATION
 Honorable Sir,
    JOHN 8.32 again compels this amicus curiae to file this motion for leave to file
 the following extremely important Motion that this amicus curiae be invited by this
 Honorable CADC as a witness and be rigorously cross-examined by amicus curiae
Honorable CAFC Chief Judge (retd.) Paul Redmond Michel to answer: uWhatfs
going on with the Federal Circuit?” [see Document #2089319, filed 12/12/2024, page 22]
     In the matter of corruption of the Constitutional Law: Title 28 USC Section
 1498(a) by the fraudulent Doctrine of Equivalents, an extra-ordinary situation
 consistent with CADC Rule 40(b)(2)(D), exists.
Respectfully submitted.

                                        Probir Kumar Bondyopadhyay, Ph. D.
                                                  Amicus Curiae
                              Original Article 1 Creature of the U.S. Constitution
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    MOTION OF AMICUS CURIAE FOR LEAVE TO FILE THE MOTION
     FOR PRESENTING AN INVITATION TO THE HONORABLE CADC
                  (CADC Case # 24-5173 (Newman v. Moore, et al.)
                  NEED FOR EXPOSING THE CORRUPTION OF
                       THE CONSTITUTIONAL LAW:
                            Title 28 use Section 1498(a)
  As already stated, at the center of this present CADC case 24-5173 is the
corruption of the Constitutional Law: Title 28 USC Section 1498(a) at the USCFC
and CAFC that must have to be addressed by this honorable CADC which never
deals with this unique constitutional law in its (CADC) ordinary business.
  At its core, this case (24-5173) is a legal case and not a medical case because no
one disputes that the Honorable CAFC judge Pauline Newman is a 97+ years young
lady, soon going on 98. It is the cognitively degenerate mind, integrally resident in
the head of the Honorable CAFC judge Pauline Newman, that has corrupted the
Constitutional law: Title 28 USC Section 1498(a). This can not stand.
   The Doctrine ofEquivalents is fraudulent like the Doctrine ofSeparate but Equal
 It took the Honorable U.S. Supreme Court 58 (fifty-eight) long years (347 U.S. 483)
to figure out that (163 U.S. 537) is inherently fraudulent.
  Therefore, under orders from JOHN 8.32, this amicus curiae submits the following
Motion such that this Honorable Court address the real serious issue in this case.
THE MOTION
  This participating amicus curiae under CADC Rule 29(b) files the motion that this
Honorable Court designate this amicus curiae as a new witness in this extra-ordinary
case and get him rigorously cross-examined (to be video recorded) by Honorable
CAFC Chief Judge (retired) Paul Redmond Michel, who is an amicus-curiae of the
                                         1
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 Plaintiff Appellant. This is needed to expose the truth and remedy the damage done
 to the progress of science. The CAFC has failed three times to recognize, and then,
 correct the serious damage already done to the progress of science!
  Honorable CAFC Chief Judge (retired) Paul Redmond Michel has gone public
 with the following observations (which is also in the case docket as quoted below):


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 Getting the facts straight always lies at the heart of doing justice. In this case,
 however, the relevant facts have yet to be established and verified.


 CAFC Chief Judge (retd.) Paul Redmond Michel continues:


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Judges from around the country anxiously ask me regarding the actions taken
against Judge Newman: "Whaf s going on with the Federal Circuit?" Is It not time
for some outside authority to intervene and to end this Impasse before It further
undermines the credibility of the Federal Circuit, and potentially the entire
judiciary?



JOHN 8.32 demands that Judge Paul Redmond Michel accepts this invitation
 to cross examine this amicus curiae on April 24, 2025 at the CADC.




                                         Probir Kumar Bondyopadhyay, Ph. D.
                                                   Amicus Curiae
                               Original Article 1 Creature of the U.S. Constitution
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 CERTFICATE OF COMPLIANCE

  This amicus curiae write-up has been typed double-spaced with Times New

Roman 14-pt font. The entire document has 681 words and meets all the necessary

 requirements under Circuit Rule 29 and Rule 32(a)(7)(C)(i) etc., etc.

 This amicus curiae is Pro Se.




 CERTIFICATE OF SERVICE

    As soon as this Honorable Appeals Court grants the Motion of this Amicus

 Curiae to participate in this case (#24-5173), this Amicus Curiae Brief will be placed

 in the Docket and all from all sides will get notified. This Amicus Curiae will keep

 an eye on the Docket through www.pacer.gov website.

  This amicus curiae is separately sending this brief to all parties and all amici curiae

 of the Plaintiff-Appellant listed in the docket, by E-Mail as a pdf file.
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                                                                     UNITED STATES US
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USCA Case #24-5173   Document #2106412    Filed: 03/17/2025          COURT
                                                              Page 5 of 5 OF APPEALS FOR THE DC CIRCUIT
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